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                         UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF SOUTH CAROLINA


In re:

Robert Dean Strickland and                               Case No. 16-05212-hb
Karen Alexa Strickland,                                  Chapter 7
                     Debtors.



    NOTICE OF HEARING ON MOTION OF THE UNITED STATES TRUSTEE TO
        DISMISS THE DEBTORS’ CASE PURSUANT TO 11 U.S.C. § 707(b)

        PLEASE TAKE NOTICE THAT the United States Trustee has filed a motion requesting
that the Court enter an order dismissing the above referenced case pursuant to 11 U.S.C. §707(b).

         A copy of the motion accompanies this notice.

       PLEASE TAKE FURTHER NOTICE that any response, return, and/or objection to
this motion should be filed with the Court no later than 21 days from service of motion and
a copy simultaneously served on all parties in interest.

       TAKE FURTHER NOTICE that the Court will conduct a hearing on February 1, 2017
at 9:30 a.m. at the Donald Stuart Russell Federal Courthouse at 201 Magnolia Street,
Spartanburg, South Carolina 29306. No further notice of this hearing will be given.

                                             JUDY A. ROBBINS
                                             United States Trustee, Region 4

                                             By: /s/ Linda K. Barr
                                             Linda K. Barr
                                             Trial Attorney, Id. No. 6284
                                             Office of the United States Trustee
                                             1835 Assembly St., Suite 953
                                             Columbia, South Carolina 29201
                                             (803) 765-5219
                                             (803) 765-5260 (facsimile)
Date: 12-30-2016                             linda.k.barr @usdoj.gov




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                           UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF SOUTH CAROLINA


In re:

Robert Dean Strickland and                                Case No. 16-05212-hb
Karen Alexa Strickland,                                   Chapter 7
                     Debtors.


           MOTION AND MEMORANDUM OF UNITED STATES TRUSTEE TO
          DISMISS CASE PURSUANT TO 11 U.S.C. § 707(b)(1-2) BASED ON THE
                 PRESUMPTION OF ABUSE AND 11 U.S.C. § 707(b)(3)


         The United States Trustee (“UST”) respectfully moves this Court for an order dismissing

this case pursuant to 11 U.S.C. § 707(b)(1), based upon the presumption under 11 U.S.C.

§ 707(b)(2), and based on totality of the circumstances under 11 U.S.C. § 707(b)(3).

                                          JURISDICTION

         The Court has jurisdiction of this case and proceeding pursuant to 28 U.S.C.

§§ 1334(a, b), and 157(a). This matter is a core proceeding under 28 U.S.C. § 157(b)(2). The

UST files this motion pursuant to the authority granted to her by 28 U.S.C. § 586 and

11 U.S.C. § 307.1

         Under § 704(b), the deadline for filing a motion to dismiss under § 707(b)(2) is 30 days

after the filing of a statement of presumption by the UST. The UST filed a statement that the

presumption of abuse arises on December 1, 2016. Under Federal Rule of Bankruptcy Procedure

1017(e)(1), the deadline for the filing of a motion under § 707(b)(3) in this case is January 20,

2017. This motion has been timely filed.

1
    Further reference to Title 11 U.S.C. § 101, et seq., will be by section number only.
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                                              CASE STATEMENT

           The debtors filed a voluntary petition for relief pursuant to chapter 7 on October 17,

2016, initiating the present bankruptcy case. The debtors are married and list one dependent, age

11.

           The debtors filed schedules and statements in their case under penalty of perjury on

October 17, 2016. The chapter 7 means test filed by the debtors incorrectly reflects that the

presumption of abuse does not arise in this case. However, the documentation provided to

support some additional expenses included a student loan payment. With this correction, the

presumption of abuse arises.1

           Schedule I reflects the debtors are both employed with Salvation Oaks Recovery

Community, Inc. with Mr. Strickland receiving $6,229 and Mrs. Strickland receiving $1,733.

Mrs. Strickland also works a second job making $372 per month. Thus, schedule I shows the

debtors make an annual income of $100,008. The means test reflected that the debtors have an

annual income of $100,224.

           Schedule J reflects a net monthly income of negative $840. Schedule J shows monthly

expenses of $400 for electricity, $100 for water and garbage collection, $220 for cell phones and

other telephone services, $470 for childcare and children’s education costs, $350 for clothing and

laundry, $365 for medical and dental expenses, $500 for transportation, $446 for entertainment,

$848 in charitable contributions, and $650 for support of others that don’t live with you.

           Schedule F reflects that the debtors have total unsecured debts of $58,696.




1
    It appears some of the other additional expenses claimed on the means test may have errors.
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        The UST plans to take the depositions of the debtors and subpoena relevant documents

from them related to this motion. The testimony and documents produced may give rise to other

relevant facts or issues.

     DISMISSAL BASED ON THE PRESUMPTION OF ABUSE UNDER § 707(b)(2)

        Section 707(b)(1) provides that, after notice and a hearing, the Court may dismiss a case

filed by an individual whose debts are primarily consumer debts if it finds that granting relief

would be an abuse of the provisions of chapter 7. Section 707(b)(2) provides, in pertinent part

                (A)(I) In considering under paragraph (1) whether the granting of relief would be
                an abuse of the provisions of this chapter, the court shall presume abuse exists if
                the debtor’s current monthly income reduced by the amounts determined under
                clauses (ii), (iii), and (iv), and multiplied by 60 is not less than the lessor of -

                        (I) 25 percent of the debtor’s nonpriority unsecured claims in the case, or
                        $7,475, whichever is greater; or
                        (II) $12,475.


        The debtors’ case is comprised primarily of consumer debts, therefore, the presumption

of abuse applies in this case. Unless the debtors can rebut the presumption by demonstrating

special circumstances that justify additional expenses or adjustments to their current monthly

income for which there is no reasonable alternative, the debtors’ case must be dismissed.

§ 707(b)(2)(B). Here, the debtors have not asserted any special circumstance.

               DISMISSAL BASED ON TOTALITY OF CIRCUMSTANCES

                              AND GOOD FAITH UNDER § 707(b)(3)

        Section 707(b)(3) provides, in pertinent part:

                (3) In considering under paragraph (1) whether the granting of relief would be an
                abuse of the provisions of this chapter in a case in which the presumption in
                subparagraph (A)( i) of such paragraph does not arise or is rebutted, the court
                shall
                 consider–
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                           (A) whether the debtor filed the petition in bad faith; or
                           (B) the totality of the circumstances (including whether the debtor seeks to
                           reject a personal services contract and the financial need for such rejection
                           as sought by the debtor) of the debtor’s financial situation demonstrates
                           abuse.

         The debtors have sufficient income from which they should be able to repay a significant

amount of the debts owed. The debtors have an annual income in excess of $100,000,

substantially more than the median family income for a household of three in South Carolina,

which is $57,363. The debtors have an ability to repay their creditors.2

         Wherefore, the UST prays that after proper notice and a hearing, the Court enter an order

dismissing this case pursuant to § 707(b) and granting such other and further relief as the Court

deems just and equitable.


                                             Respectfully submitted,

                                             JUDY A. ROBBINS,
                                             United States Trustee, Region 4

                                             By: /s/ Linda K. Barr
                                             Linda K. Barr, Id. 6284
                                             Trial Attorney
                                             Office of the United States Trustee
                                             1835 Assembly St., Suite 953
                                             Columbia, South Carolina 29201
                                             (803) 765-5219
                                             (803) 765-5260 (facsimile)
Date: 12-30-2016                             linda.k.barr@usdoj.gov



2
  The UST submits that under § 707(b)(3)(B), the debtor’s ability to pay creditors alone supports a finding of abuse
and dismissal of the case. Considering the law prior to BAPCPA, the Fourth Circuit Court of Appeals in In re
Green, 934 F. 2d 568 (4th Cir. 1991) held that a debtor’s ability to repay his debts, “standing alone”, was
insufficient to satisfy the totality of circumstances test for “substantial abuse.” In the case of In re Calhoun, 396
B.R. 270, 275 (Bankr. D.S.C. 2008), aff’d, 650 F.3d 338 (4th Cir. May 3, 2011), the Court held that following the
2005 Amendments to § 707(b) of the Bankruptcy Code, “the ability to pay a significant dividend to creditors and the
failure to do so standing alone can be an abuse of chapter 7, absent mitigating factors.”
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                                  CERTIFICATE OF SERVICE


       I, the undersigned, do hereby certify that on December 30, 2016, I served the below-

named parties with copies of the following documents:

           MOTION AND MEMORANDUM OF UNITED STATES TRUSTEE TO
                 DISMISS CASE PURSUANT TO 11 U.S.C. § 707(b)

                                              WITH

                                     NOTICE OF HEARING

                                              AND

                                  CERTIFICATE OF SERVICE

by mailing said copies to them by first-class, United States mail, postage prepaid, with return
address clearly shown to said parties at the addresses shown below:
Robert Dean Strickland
1507 McCormick Highway
Greenwood, SC 29646
Karen Alexa Strickland
1507 McCormick Highway
Greenwood, SC 29646
James C. Johnson
The Johnson Law Firm of
   Greenwood, LLC
PO Box 673
Greenwood, SC 29648


and/or by electronic transmission through the Court’s Electronic Case Filing system to the
following participants:

John K. Fort, Esquire (trustee)
James C. Johnson, Esquire
                                             By: /s/ Linda K. Barr
                                             Linda K. Barr
                                             Trial Attorney
                                             Office of the United States Trustee
                                             1835 Assembly St., Suite 953
                                             Columbia, South Carolina 29201
                                             (803) 765-5219
                                             linda.k.barr@usdoj.gov
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